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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
URMILA DEVI LALLU,                                             :

                                                             :     ORDER
                          Plaintiff,                               18 Civ. 420 (GWG)
                                                             :
        -v.-
                                                             :
ACTING COMMISSIONER NANCY A.
BERRYHILL,                                                   :

                           Defendant.                          :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

       The parties are directed to file a letter on or before November 20, 2020, that gives their
views on whether the application appearing as Docket # 26 can be adjudicated at this time in the
absence of any request to the agency for fees filed by counsel at the administrative level.

        SO ORDERED.

Dated: New York, New York
       November 6, 2020

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                                                             GABRIEL W. GORENSTEIN
                                                             United States Magistrate Judge
